                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PRESS AND JOURNAL, INC.,                   :   CIVIL ACTION NO. 1:18-CV-2064
                                           :
                    Plaintiff              :   (Chief Judge Conner)
                                           :
             v.                            :
                                           :
BOROUGH OF MIDDLETOWN,                     :
                                           :
                    Defendant              :

                                       ORDER

      AND NOW, this 25th day of March, 2019, upon the consent of the Plaintiff

Press & Journal, Inc. (“P&J”), and the Defendant Borough of Middletown

(“Borough”) (collectively, the “Parties”), the Court hereby Decrees that:

      1.     This Court has not reached any conclusions as to the claims raised in

this action by the P&J, which are disputed by the Borough, alleging that the

Borough acted in violation of the P&J’s rights under the First Amendment of the

United States Constitution. Notwithstanding, the Court understands that the

Parties jointly wish to end this dispute and to resolve this action through the entry

of this Consent Decree.

      2.     Accordingly, with the agreement of the Parties, it is ORDERED that

within 10 days hereof, the Borough shall pass a resolution, and keep current by way

of future resolution, its criteria by which decisions will be made for the placement of

advertising required by law and advertising not so required, and the Borough shall

comply with those published criteria in the placement of all such advertisements.
      3.     This action is hereby DISMISSED with prejudice, subject to this Court

retaining jurisdiction to enforce this Consent Decree.




                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner, Chief Judge
                                       United States District Court
                                       Middle District of Pennsylvania
